Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 1 of 6. PageID #: 3861
Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 2 of 6. PageID #: 3862
Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 3 of 6. PageID #: 3863
Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 4 of 6. PageID #: 3864
Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 5 of 6. PageID #: 3865
Case: 3:03-cr-00739-JGC Doc #: 1955 Filed: 03/20/07 6 of 6. PageID #: 3866
